         Case 1:18-cr-00111-CMH                    Document 1          Filed 12/21/17           Page 1 of 1 PageID# 1


 AO 91 (Rev. 11/11) Criminal Complaint


                                      United States District CouRrJ,
                                                                 for the                         ;!'

                                                    Eastern District of Virginia                 !i               212017 ^
                  United States ofAmerica
                                 V.                                                             L. 'Ic:
                                                                           Case No. 1:17-mj-611

                     Julian Paul Assange
                                                                            Filed Under Seal



                           Defendant(s)


                                                 CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
Onorabout thedate(s) of                        March 2010                  inthecounty of        Loudoun (first brought)   in the

       Eastern         Districtof             Virginia          , the defendant(s) violated:
             Code Section                                                    Offense Description


18U.S.C.§371                                   Conspiracy to (1) access a computer, without authorization and exceeding
                                               authorized access, to obtain classified national defense information in
                                               violation of 18 U.S.C. § 1030(a)(1); and (2) access a computer, without
                                               authorization and exceeding authorized access, to obtain infomnation from a
                                               department or agency of the United States in furtherance of a criminal act in
                                               violation of 18 U.S.C. § 1030(a)(2), (c)(2)(B)(ii).

          This criminal complaint is based on these facts:


SEE ATTACHED AFFIDAVIT.




          Sf Continued on the attached sheet.



          Reviewed by AUSA/SAUSA:                                                              Complainant's signature

           Kellen S. Dwyer; Tracy Doherty-McCormick                                      Special Agent Megan Brown
                                                                                                Printed name and title


Sworn to before me and signed in my presence.                                                          Is/
                                                                              ^sa Carroll Buchanan
                                                                            Urji^d States Magistrate Judge
Date:                     \"^
                                                                                                 Judge's signature

                                                                             Hon. Theresa Carroll Buchanan, U.S. Magistrate Judge
City and state:                       Alexandria, Virginia
                                                                                                Printed name and title
